                                            Case 3:23-cv-00707-SI Document 19 Filed 04/20/23 Page 1 of 1




                                   1

                                   2

                                   3

                                   4                                   UNITED STATES DISTRICT COURT

                                   5                                  NORTHERN DISTRICT OF CALIFORNIA

                                   6

                                   7     YINTAO YU,                                           Case No. 23-cv-00707-SI
                                   8                     Plaintiff,
                                                                                              ORDER DISMISSING CASE
                                   9              v.                                          WITHOUT PREJUDICE FOR
                                                                                              FAILURE TO PROSECUTE AND
                                  10     BYTEDANCE, INC.,                                     DENYING PENDING MOTIONS AS
                                                                                              MOOT
                                  11                     Defendant.

                                  12
Northern District of California
 United States District Court




                                              In an order filed March 21, 2023, the Court informed plaintiff Yintao Yu of resources
                                  13
                                       available to self-represented litigants and set a new briefing schedule for Bytedance’s motion to
                                  14
                                       compel arbitration, with Yu’s opposition due on April 14, 2023. The March 21 order also informed
                                  15
                                       Yu that if he failed to file a response to the motion to compel, this case could be dismissed for failure
                                  16
                                       to prosecute. Yu did not file a response to the motion to compel, nor has Yu taken any action since
                                  17
                                       Bytedance removed this case from state court on February 16, 2023.
                                  18
                                              As it appears that Yu is no longer prosecuting this case, the Court DISMISSES this case
                                  19
                                       without prejudice pursuant to Federal Rule of Civil Procedure 41(b).
                                  20

                                  21
                                              IT IS SO ORDERED.
                                  22

                                  23
                                       Dated: April 20, 2023                          ______________________________________
                                  24                                                    SUSAN ILLSTON
                                                                                        United States District Judge
                                  25

                                  26
                                  27

                                  28
